JS-CAND 44 (Rev. 10/2020)
                                Case 3:24-cv-01738-EMC                                      Document 1-15                         Filed 03/20/24                  Page 1 of 3
                                                                                   CIVIL COVER SHEET
The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved in its original form by the Judicial Conference of the United States in September 1974, is required for the Clerk of
Court to initiate the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                                DEFENDANTS
   Geary Sha, an individual                                                                                      Aircraft Service International, Inc., a Delaware corporation; Menzies
                                                                                                                 Aviation (USA), Inc., a Delaware corporation; Tracy Aguilar, an
                                                                                                                 individual, and DOES 1 through 50, inclusive,
  (b) County of Residence of First Listed Plaintiff Solano                                                       County of Residence of First Listed Defendant
         (EXCEPT IN U.S. PLAINTIFF CASES)                                                                        (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                 NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.
  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                        Attorneys (If Known)
   F. Shawn Azizollahi (SB #268116)                   (310) 275-1844                                        Christopher Ward (SB #238777) | (213) 972-4500 | Foley & Lardner
   Marquee Law Group                                                                                        LLP | 555 South Flower Street, Ste. 3300, Los Angeles, CA 90071
   9100 Wilshire Blvd., Ste. 445 East Tower, Beverly Hills, CA 90212                                        Kevin Jackson (SB #278169) | (858) 847-6700 | Foley & Lardner
                                                                                                            LLP | 11988 El Camino Real, Suite 400, San Diego, CA 92130
II.       BASIS OF JURISDICTION (Place an “X” in One Box Only)                                    III CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                       and One Box for Defendant)
                                                                                                                                         PTF         DEF                                        PTF DEF
       1 U.S. Government Plaintiff           3    Federal Question                                 Citizen of This State                   1           1       Incorporated or Principal Place      4 4
                                                  (U.S. Government Not a Party)
                                                                                                                                                               of Business In This State
                                                                                                   Citizen of Another State                  2           2     Incorporated and Principal Place     5 5
       2 U.S. Government Defendant           4     Diversity
                                                                                                                                                               of Business In Another State
                                                 (Indicate Citizenship of Parties in Item III)     Citizen or Subject of a
                                                                                                                                             3           3     Foreign Nation                       6 6
                                                                                                   Foreign Country


IV.         NATURE OF SUIT (Place an “X” in One Box Only)
           CONTRACT                                                  TORTS                                       FORFEITURE/PENALTY                        BANKRUPTCY                     OTHER STATUTES
      110 Insurance                        PERSONAL INJURY                      PERSONAL INJURY                   625 Drug Related Seizure of          422 Appeal 28 USC § 158           375 False Claims Act
      120 Marine                                                                                                      Property 21 USC § 881            423 Withdrawal 28 USC             376 Qui Tam (31 USC
                                         310 Airplane                          365 Personal Injury - Product
      130 Miller Act                                                               Liability                      690 Other                                § 157                             § 3729(a))
                                         315 Airplane Product Liability
      140 Negotiable Instrument          320 Assault, Libel & Slander          367 Health Care/                               LABOR                     PROPERTY RIGHTS                  400 State Reapportionment
      150 Recovery of                    330 Federal Employers’                    Pharmaceutical Personal                                             820 Copyrights                    410 Antitrust
                                                                                                                  710 Fair Labor Standards Act
         Overpayment Of                      Liability                             Injury Product Liability                                                                              430 Banks and Banking
                                                                                                                  720 Labor/Management                 830 Patent
         Veteran’s Benefits                                                    368 Asbestos Personal Injury                                                                              450 Commerce
                                         340 Marine                                                                   Relations                        835 Patent─Abbreviated New
      151 Medicare Act                                                             Product Liability
                                         345 Marine Product Liability                                             740 Railway Labor Act                    Drug Application              460 Deportation
      152 Recovery of Defaulted                                               PERSONAL PROPERTY
                                         350 Motor Vehicle                                                        751 Family and Medical               840 Trademark                     470 Racketeer Influenced &
          Student Loans (Excludes                                              370 Other Fraud                        Leave Act                                                              Corrupt Organizations
          Veterans)                      355 Motor Vehicle Product                                                                                     880 Defend Trade Secrets
                                                                               371 Truth in Lending               790 Other Labor Litigation               Act of 2016                   480 Consumer Credit
      153 Recovery of                        Liability
                                         360 Other Personal Injury             380 Other Personal Property        791 Employee Retirement                                                485 Telephone Consumer
         Overpayment                                                                                                                                    SOCIAL SECURITY
                                                                                   Damage                             Income Security Act                                                    Protection Act
      of Veteran’s Benefits              362 Personal Injury -Medical                                                                                  861 HIA (1395ff)
                                             Malpractice                       385 Property Damage Product                                                                               490 Cable/Sat TV
      160 Stockholders’ Suits                                                      Liability                            IMMIGRATION                    862 Black Lung (923)
                                                                                                                                                                                         850 Securities/Commodities/
      190 Other Contract                                                                                                                               863 DIWC/DIWW (405(g))                Exchange
                                                                                                                  462 Naturalization
      195 Contract Product Liability                                                                                  Application                      864 SSID Title XVI                890 Other Statutory Actions
                                             CIVIL RIGHTS                     PRISONER PETITIONS
      196 Franchise                                                                                                                                    865 RSI (405(g))                  891 Agricultural Acts
                                         440 Other Civil Rights                  HABEAS CORPUS                    465 Other Immigration
                                         441 Voting                            463 Alien Detainee                     Actions                                                            893 Environmental Matters
        REAL PROPERTY                                                                                                                                  FEDERAL TAX SUITS
                                         442 Employment                        510 Motions to Vacate                                                                                     895 Freedom of Information
      210 Land Condemnation              443 Housing/                             Sentence                                                             870 Taxes (U.S. Plaintiff or          Act
      220 Foreclosure                       Accommodations                     530 General                                                                 Defendant)                    896 Arbitration
      230 Rent Lease & Ejectment         445 Amer. w/Disabilities-             535 Death Penalty                                                       871 IRS–Third Party 26 USC        899 Administrative Procedure
      240 Torts to Land                     Employment                                 OTHER                                                               § 7609                            Act/Review or Appeal of
      245 Tort Product Liability         446 Amer. w/Disabilities–Other        540 Mandamus & Other                                                                                          Agency Decision
      290 All Other Real Property        448 Education                                                                                                                                   950 Constitutionality of State
                                                                               550 Civil Rights
                                                                                                                                                                                             Statutes
                                                                               555 Prison Condition
                                                                               560 Civil Detainee-
                                                                                   Conditions of
                                                                                   Confinement
V.         ORIGIN (Place an “X” in One Box Only)
      1 Original                       2 Removed from               3    Remanded from             4    Reinstated or         5   Transferred from               6 Multidistrict             7 Multidistrict
        Proceeding                       State Court                     Appellate Court                Reopened                  Another District (specify)       Litigation-Transfer         Litigation-Direct File


VI.        CAUSE OF Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
           ACTION   28 U.S.C. 1332
                    Brief description of cause:
                    Disability Discrimination, Harassment and Hostile Work Environment, Failure to Prevent Discrimination and Harassment, and Retaliation in Violation
                    of Cal. Gov. Code 12900 et seq.; Wrongful Termination in Violation of Public Policy
VII.       REQUESTED IN        CHECK IF THIS IS A CLASS ACTION            DEMAND $                                CHECK YES only if demanded in complaint:
                                                                                                                  JURY DEMAND:                Yes          No
           COMPLAINT:          UNDER RULE 23, Fed. R. Civ. P.

VIII. RELATED CASE(S),
      IF ANY (See instructions):                           JUDGE                                                        DOCKET NUMBER
                 Case 3:24-cv-01738-EMC    Document 1-15     Filed 03/20/24     Page 2 of 3
IX.     DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
(Place an “X” in One Box Only) SAN FRANCISCO/OAKLAND          SAN JOSE           EUREKA-MCKINLEYVILLE

DATE March 20, 2024         SIGNATURE OF ATTORNEY OF RECORD /s/ Kevin Jackson
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             INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS-CAND 44

Authority For Civil Cover Sheet. The JS-CAND 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and
service of pleading or other papers as required by law, except as provided by local rules of court. This form, approved in its original form by the Judicial
Conference of the United States in September 1974, is required for the Clerk of Court to initiate the civil docket sheet. Consequently, a civil cover sheet is
submitted to the Clerk of Court for each civil complaint filed. The attorney filing a case should complete the form as follows:
    I. a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
          only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
          then the official, giving both name and title.
     b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
        time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
        condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)
     c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
        in this section “(see attachment).”
   II.    Jurisdiction. The basis of jurisdiction is set forth under Federal Rule of Civil Procedure 8(a), which requires that jurisdictions be shown in
          pleadings. Place an “X” in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
          (1) United States plaintiff. Jurisdiction based on 28 USC §§ 1345 and 1348. Suits by agencies and officers of the United States are included here.
          (2) United States defendant. When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
          (3) Federal question. This refers to suits under 28 USC § 1331, where jurisdiction arises under the Constitution of the United States, an amendment
              to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code
              takes precedence, and box 1 or 2 should be marked.
          (4) Diversity of citizenship. This refers to suits under 28 USC § 1332, where parties are citizens of different states. When Box 4 is checked, the
              citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
              cases.)
   III.   Residence (citizenship) of Principal Parties. This section of the JS-CAND 44 is to be completed if diversity of citizenship was indicated above.
          Mark this section for each principal party.
   IV. Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
       sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
       one nature of suit, select the most definitive.
    V.    Origin. Place an “X” in one of the six boxes.
          (1) Original Proceedings. Cases originating in the United States district courts.
          (2) Removed from State Court. Proceedings initiated in state courts may be removed to the district courts under Title 28 USC § 1441. When the
              petition for removal is granted, check this box.
          (3) Remanded from Appellate Court. Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
              date.
          (4) Reinstated or Reopened. Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
          (5) Transferred from Another District. For cases transferred under Title 28 USC § 1404(a). Do not use this for within district transfers or
              multidistrict litigation transfers.
          (6) Multidistrict Litigation Transfer. Check this box when a multidistrict case is transferred into the district under authority of Title 28 USC
              § 1407. When this box is checked, do not check (5) above.
          (8) Multidistrict Litigation Direct File. Check this box when a multidistrict litigation case is filed in the same district as the Master MDL docket.
          Please note that there is no Origin Code 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in statute.
    VI. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
        statutes unless diversity. Example: U.S. Civil Statute: 47 USC § 553. Brief Description: Unauthorized reception of cable service.
    VII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Federal Rule of Civil Procedure 23.
          Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
          Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
    VIII. Related Cases. This section of the JS-CAND 44 is used to identify related pending cases, if any. If there are related pending cases, insert the docket
          numbers and the corresponding judge names for such cases.
    IX. Divisional Assignment. If the Nature of Suit is under Property Rights or Prisoner Petitions or the matter is a Securities Class Action, leave this
        section blank. For all other cases, identify the divisional venue according to Civil Local Rule 3-2: “the county in which a substantial part of the
        events or omissions which give rise to the claim occurred or in which a substantial part of the property that is the subject of the action is situated.”
   Date and Attorney Signature. Date and sign the civil cover sheet.
